United States District Court
Wisconsin Eastern District at Milwaukee Division

Pablito Vega, Petitioner

CASE: 23-CV-1357
Vs.
Community Development Financial Institution ==
Milwaukee Economic Development Corporation | Wi

Respondent | | a 5
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Community Development Financial Institution
Local Initiative Support Corporation Milwaukee Office
Respondent II

Motion for RE-Consideration For Default Judgment

Before the Court is a Motion for RE-Consideration For Default Judgment on behalf of Pablito
Vega against Respondent LISC for failure to comply with filing an Answer to the § 1691
Complaint within 60 days of service dated 20 October 2023 in the matter 23 CV 1357.

For the edification of the Court the § 1691 Complaint was signed on 9 October 2023 and
received file-stamped by the Clerk of Court on the 12 October 2023 and was due an Answer on
or before 19 December 2023, 60 days from 20 October 2023 when the § 1691 Complaint was served
on Respondent LISC via USPS as reflected in Receipt Number 840-55300219-5-4255545-2 witha
ID USPS Clerk Number 85 on 20 October 2023 at 6:37 CST. LISC was served the Complaint along
with the Waiver-of-Service to be delivered on or thereabout 23 October 2023 to the address
noted below from the USPS facility located at 345 West Saint Paul Avenue, Milwaukee WI 53203.
Such is attached as Exhibit 1.1. As of 19 DECEMBER 2023 LISC has refused to respond to
23-CV-1357, thus by deception also refusing to acknowledge the jurisdiction of the Court in
its efforts to use as a human shield LISCs reasoning or LISCs rationale for not responding
to 23-CV-1357. Pablito Vega prays the Court issues an Order of Default Judgment against
Respondent LISC in the amount sought within the § 1691 Complaint of $800,000.

Pablito Vega filed with the Court two Waiver-of-Service Forms. One Waiver-of-Service was
returned by MEDC acknowledged received on 1 NOV 2023. The other Waiver-of-Service Form was a
personal copy held in reserve by Pablito Vega as proof that such Form was the actual Form
served to LISC on 20 October 2023 minus a WET signature and WET date but not acknowledged by
LISC on any day thereafter on the version that included the WET signature and WET date. Both
MEDC and LISC were served on the same day, 20 OCT 2023. The only difference is that MEDC
acknowledged receipt on 1 NOV 2023, whereas LISC is being deceptive and corrupt by refusing
to acknowledge receipt of the § 1691 Complaint and Waiver-of-Service any time after 20 OCT
2023. An answer was due 60 days from 20 October 2023 which fell on 19 December 2023 that has
not been met by the failure of Respondent LISC to provide that Answer. The Court should be
advised that LISC refused to file anything, and that included an Answer or Appearance,
acknowledge the Waiver-of-Service by returning such to Petitioner Vega with a date of receipt
or the Consent for Magistrate Judge within 21 days as of being served the § 1691 Complaint on
20 October 2023 by the Petitioner Vega.

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Respondent MEDC was served in the same manner and has acknowledged the Waiver-of-Service by
returning such to Petitioner Vega with a date of receipt of 1 NOVEMBER 2023. LISC refused to
acknowledge being served on 20 OCT 2023. LISC has not filed an Appearance & Consent for
Magistrate Judges, unlike MEDC who has provided an Answer prior to 19 December 2023, doing so
on 15 DECEMBER 2023. But please remember that MEDC can only speak for MEDC and not speak for
LISC who has refused to acknowledge the jurisdiction of the Court. LISC can’t use MEDCs
Counsel to speak for LISC. LISC has to speak for itself, which it has not. LISC can’t use as
a human shield its reasoning or its rationale for not responding. LISC has simply elected to
refuse to acknowledge being served Lhe Complaint and Waiver-of-Service on 20 OCT 2023 by not
responding with an Answer prior to 19 DEC 2023. LISC on 21 DEC 2023 signed at 1116 CST
receiving the Motion For Default Judgement at the address below. Such is attached as Exhibit
1.2. Was LISC required to do the same on 23 OCT 2023 or thereabouts in acknowledging receipt
of the § 1691 Complaint and Waiver-of-Service? No! There is no legal requirement in Wisconsin
that LISC was legally required to be served by Pablito Vega via Certified Mail with the §
1691 Complaint and Waiver-of-Service on 20 OCT 2023 in order for LISC to not deny that LISC
was not served via USPS on 20 OCT 2023 the § 1691 Complaint and Waiver-of-Service by Pablito
Vega. LISC was properly and legally served on 20 OCT 2023 via USPS by Pablito Vega. LISC has
obviously not acted in good faith. LISC is simply not being truthful and indeed being truly
deceptive and corrupt by not acknowledging to the Court or anyone else being in fact served
with the $ 1691 Complaint and Waiver-of-Service on 20 OCT 2023, in order to not be held
liable for the sum in question, or for the corrupt conduct of its staff in Fall 2022, an
obvious act of bad faith that the Court should use against LISC. Therefore, since Respondent
LISC has purposefully refused to provide an Answer to 23 CV 1357, Vega v. LISC & MEDC prior
to 19 December 2023, 60 days from 20 October 2023 the Petitioner Vega ask the Court to issue
an ORDER of Default Judgment against Respondent LISC in the amount of $800,000 for failure to
respond to the § 1691 Complaint.

Pablito Vega

Quantitative Analyst Pablite- VV

Vega alaveMaTiae ~ Vega 24 DEC 2023

1314 South First Street PABLITO VEGA DATE

Lobby Suite

Milwaukee WI 53204 The Court should note the attached Subpoena directed at the Office of the Executive Director of LISC currently
1-609-874-9129 Phone filled by one Theodore Lipscomb Sr. advising such to release to the Court the Large Yellow Envelope post-
1-248-748-2676 Fax marked 20 OCT 2023 dated stamped received on or after 23 OCT 2023 that was mailed to LISC Office of
Vegas P@outlook.com Legal Counsel at 234 Florida Street, Suite 204, Milwaukee Wi 53204 from 1314 South First Street, Milwaukee

WI53204 by Pablito Vega that contained the Waiver-of-Service and § 1691 Complaint.

Sob juramento de lei, Pablito Vega, que sos es uno de los Europello mas marravillozzo de tododeis de los Europellos y jura que a sua
declaragao esta correta e néo diz mais nada sobre a seguinte pergunta de oz Santos Europellos en vosotros cielo gloriozzo de oz
Europello mas pode rozzo des di Saa-Maria y Judia y les pedodeis a la Europella toda pode rozza en vosotros cielo glorizzo Santa
Cecilia de los Santos proteccioneis contrais el enfermo enemigo de la santa paz y tranquilidad. Please take notice that on 29 DECEMBER
2023 Pablito Vega deposited into the USPS the attached MOTION to be filed with the Clerk of the US District Court at Wisconsin Eastern District

Milwaukee Division. Pablito Vega certifies under the penalty of perjury and criminal liability that a copy of this Notice of Filing along with the
MOTION will be served upon the parties listed below.

Community Development Financial Institution PABLITO VEGA

Office of Legal Counsel Vega Global Advisors

LISC Milwaukee Office MID-WEST REGION OFFICE
234 West Florida Street 1314 South First Street

Suite 204 LOBBY SUITE

Milwaukee, WI 53204 Milwaukee, WI 53204

Phone: 414.273.1815 1-609-874-9129 PHONE

Fax: 414.273.2036 1-248-748-2576 FAX

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my UNITED STATES
Ba POSTAL SERVICE

December 22, 2023
Dear PABLITO VEGA:

The following is in response to your request for proof of delivery on your item with the tracking number:
7022 1670 0003 1345 1200.

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Status: Delivered to Agent for Final Delivery
Status Date / Time: December 21, 2023, 11:16 am
Location: MILWAUKEE, WI 53204

Postal Product: First-Class Mail®

Extra Services: Certified Mail™

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Weight: 1.002
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Signature of Recipient: D EULA
(Authorized Agent) 5S Whoct- .
234 W FLORIDA ST STE 204,
, MILWAUKEE, Wi 53204
Address of Recipient:

Note: Scanned image may reflect a different destination address due to Intanded Recipient's delivary instructions on file.

Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

Sincerely,

United States Postal Service”
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004

Case 2:23-cv-01357-PP Filed 01/02/24. Page 3of6 DocumepeyeceE = OF Ss
AQ SSB (Rev. 02/14} Subpoena to Produce Documents. Information. or Objects or to Permil Inspection of Premises ina Civil Action

UNITED STATES DISTRICT COURT

for the

Eastern District af Wisconsin

PABLITO VEGA
Plate?
uke Civil Action No, 23-CV-1357
)
Defendant )

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

THEODORE LIPSCOMB, SR.
To: EXECUTIVE DIRECTOR, LISC MILWAUKEE OFFICE

(Nante af person ta whtour this subpoena ix directed)

A Produc tion: new ARE COMMANDED to produce at the time, date, and place set forth below the following
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material.9\2 day of 23, 2. 25, 26, or 27 OCT 2023 malied from Pablito Vega, 1314 South First Street, Milwaukee, WI
53204 to Office of Legal Counsel, LISC Milwaukee Office, 234 West Florida Street, Suite 204, Milwaukee WI

Aa?N4 Alona with anv other materials within sich larne vellaw envelane also date stamn recieved hv | ISG

Place. U2 District Court House Date and Time:
‘ee Chief Judge Pamela Pepper, Court Room 222 SS

517 East Wisconsin Avenue 01/05/2024 12:00 am
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1 Jaspection of Premises; YOU ARE COMMANDED to permit cntry onto the designated premises, land, or
other property possessed or controlled by you at (he time, date, und location set forth below, so that the requesting party
may inspecl, measure, survey, photograph, test, or sample the propertly or any designated object or operation on il.

Place: Date and Time:
N-A N-A

The following provisions of Fed, R. Civ. P. 45 are allached — Rule 45(¢), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subjvet to a subpocna, and Rule 45¢c) and (g), relating ta your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:

GINA M. COLLETTI
CLERK OF COURT
OR

Sigeature of Clerk av Deputy Clerk Attorney's signature

The name, address, e-mail! address, and telephone number of the attorney representing frame of'pary) — PABLITO VEGA

1314 SOUTH FIRST STREET, MILWAUKEE WI 53204 , who issues or requests this subpoena, are:
PABLITO VEGA, 1314 SOUTH FIRST STREET, MILWAUKEE WI 53204, Vegas P@outlook.cam, 609-874-9129

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents. electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ, P, 45(ay(4}.
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UNITED STATES
Bad POSTAL SERVICE.

MILWAUKEE
345 W SAINT PAUL AVE
MILWAUKEE, WI 53203-3099
(800) 275-8777

10/20/2023 06:37 PM

Product Qty Unit Price
Price

First-Class Mail® 1 $1.59

Large Envelope
Milwaukee, WI 33202
Weight: 0 lb 1.90 oz
Estimated Delivery Date
Mon 10/23/2023

First-Class Mail® 1 $1.59
Large Envelope
Milwaukee, WI 53204
Weight: 0 Ib 1.90 oz
Estimated Delivery Date
Mon 10/23/2023

Grand Total: $3.18
Cash $20 .00
Change -$16 .82

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UFN: 360051~-0204
Receipt #: 840-55300219-5-4259545-2
Clerk: 85

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